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                                       November 30, 2022

Via ECF:
The Honorable Lorna G. Schofield
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

              Re:   Ulku Rowe v. Google LLC, Case No. 19-cv-08655 (LGS)(GWG)

Dear Judge Schofield:

           We represent Plaintiff Ulku Rowe in the above-referenced matter. Pursuant to Rule
III.A.1 of your Honor’s Individual Rules, we write to oppose Defendant’s Letter Motion (ECF
No. 248), requesting leave to take de bene esse depositions of three witnesses: Tariq Shaukat,
Paul Strong, and Jennifer Burdis. The Court should deny Defendant’s request as to Mr. Shaukat
and Ms. Burdis.1 Defendant can compel at least one of these witnesses to appear in person at
trial, it has not shown good cause to conduct these depositions after the close of discovery, its
request is impracticable and creates an undue burden on Plaintiff, and the parties could instead
use the previously obtained sworn videotaped deposition testimony from these witnesses.

         Defendant has acted in bad faith in seeking Mr. Shaukat’s de bene esse deposition, as he
is under Google’s control and Google can compel him to testify in person. Plaintiff requested
production of any separation agreements between Google and any deponents in her Initial
Requests for Production of Documents served nearly three years ago on January 21, 2020, but
Defendant objected and refused to produce them. On November 16, 2022, Plaintiff wrote to
Defendant to ask whether Mr. Shaukat was under its control. Rather than answer the question,
Google responded that he was no longer employed. Plaintiff repeated the question of control
during a meet and confer on November 17, and asked again for the separation agreements.
During that same meeting, Google raised de bene esse depositions of Ms. Burdis and Mr. Strong,
but made no mention of Mr. Shaukat. Plaintiff repeated her question again on November 22, and
the next day, Defendant’s counsel wrote that they did not believe “Google has any legal basis to
compel the former employees deposed in this case to appear for in-person testimony at the trial
in January.” On November 28, after it had filed this motion, Google finally produced Mr.

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  Mr. Strong is a current employee whom Google can compel to testify in person. While Plaintiff
believes that Mr. Strong’s testimony is duplicative of the other three Level 9 Technical Directors
in OCTO who will testify, she does not oppose him appearing at trial remotely if his personal
situation makes him unable to travel.
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the parties have before the trial ready date – during which time the parties are also required to
conduct expert discovery – Defendant’s request is impracticable and creates an undue burden on
Plaintiff. See, e.g., Donk, 2000 U.S. Dist. LEXIS 1871 at *16.

        The cases Defendant has cited to in support of its request can easily be distinguished. In
Shim-Larkin v. City of N.Y., the Court allowed a de bene esse deposition after discovery closed
where the witness had “a neuromuscular disease characterized by progressive paralysis… [and] it
[wa]s uncertain how much longer she w[ould] survive.” No. 16 Civ. 6099, 2018 U.S. Dist.
LEXIS 112765, at *2 (S.D.N.Y. May 11, 2018). Further, RLS Associates, LLC v. United Bank of
Kuwait PLC, held that a de bene esse deposition was preferable to live remote testimony because
of the possibility of technical issues arising. No. 01 Civ.1290, 2005 U.S. Dist. LEXIS 3815, at *7
(S.D.N.Y. Mar. 11, 2005). Notably, seventeen years have passed since this case was decided and
the advancement of videoconferencing technology since – technology Google itself helped
advance – renders this argument moot.

         In addition, both the Federal Rules of Civil Procedure and Rule IV.B.2. of Your Honor’s
Individual Rules permit the introduction of deposition testimony where a witness is unavailable.
See Fed. R. Civ. P. 32(a). In the event that Mr. Shaukat and Ms. Burdis may not be compelled to
testify in person at this trial, the parties may utilize their previously taken videotaped deposition
transcripts. See also Radosti v. Hudson's Bay Co., No. 18 Civ. 12266, 2022 U.S. Dist. LEXIS
81031, at *6 (S.D.N.Y. May 4, 2022) (granting introduction of already-taken deposition
testimony pursuant to Rule 32(a)(4)).

        For the foregoing reasons, we respectfully request that Court deny Google’s request and
order that either Mr. Shaukat and Ms. Burdis appear in-person at trial or the parties use the
previously obtained sworn deposition testimony per Federal Rule of Civil Procedure Rule
32(a)(4).

                                                Respectfully submitted,


                                                Cara E. Greene

 c:      All counsel of record (by ECF)
